                                              Case 3:15-cv-02441-MMA-NLS Document 10 Filed 02/08/16 PageID.31 Page 1 of 2



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                                         13
                                                Christopher Perkins and
                                         14     Monique Perkins
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                                         17                         UNITED STATES DISTRICT COURT
                                                                  SOUTHERN DISTRICT OF CALIFORNIA
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                                                  CHRISTOPHER PERKINS and                              Case No.: 3:15-cv-02441-MMA-
                                         20       MONIQUE PERKINS,                                     NLS
                                         21
                                                                          Plaintiffs,                  NOTICE OF SETTLEMENT
                                         22       v.
                                         23
                                                  REGIONAL ACCEPTANCE
                                         24       CORPORATION,
                                         25
                                                                          Defendant.
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                                                 ______________________________________________________________________________________________________
                                                 Notice of Settlement                          - 1! of !2 -                   3:15-cv-02441-MMA-NLS
                                              Case 3:15-cv-02441-MMA-NLS Document 10 Filed 02/08/16 PageID.32 Page 2 of 2



                                          1             NOTICE IS HEREBY GIVEN that this case has been settled in its entirety.
                                          2     The Parties anticipate filing a Joint Motion for dismissal of this action in its entirety
                                          3     with prejudice within 60 days. Plaintiffs request that all pending dates and filing
                                          4     requirements be vacated and that the Court set a deadline on or after April 8, 2016
                                          5     for filing a joint dismissal.
                                          6
                                          7     Respectfully submitted,
                                          8
                                                Date: February 8, 2016                                         HYDE & SWIGART
                                          9
                                         10
                                         11                                                               By: s/Joshua B. Swigart
                                                                                                             Joshua B. Swigart
                                         12                                                                  Attorneys for Plaintiffs
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                                                 Notice of Settlement                          - 2! of !2 -                   3:15-cv-02441-MMA-NLS
